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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


WILLIAM TRIER, JEFFREY MCKINSEY, HAROLD
DANIEL, JOHN AUSTIN HARRINGTON, RICHARD
SPARKS, JACOB TRIER, JEFFERY HARRINGTON,
WALTER JOHNSON, STEVEN JOHNSON, CAL TER
HAAR, AARON JOHNSON and JEFF MOYNIHAN
                                                           Case No.: 2:17-cv-10236
       Plaintiffs,
                                                           Hon. George Caram Steeh
v.                                                         Magistrate Anthony P. Patti

GENESEE COUNTY, SHERIFF ROBERT PICKELL,
SCOTT HOPE, CHARISSA HOPE and ALLEN &
HOPE PROCESS SERVING MANAGEMENT CO.,
INC. a Michigan corporation,

       Defendants.


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                       STIPULATION AND ORDER DISMISSING RICO CLAIMS

       The parties hereby agree to the dismissal of the RICO claims without prejudice, without

costs to any party, and to the entry of an order consistent with this stipulation.



Dated: January 5, 2018                                /s/Scott P. Batey P54711
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                                             ORDER

       Upon the stipulation of the parties, IT IS ORDERED that the RICO claims are dismissed

without prejudice, and without costs to any party.




Dated: January 8, 2018                       s/George Caram Steeh
                                             United States District Judge
